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23

24                            UNITED STATES DISTRICT COURT
25                           CENTRAL DISTRICT OF CALIFORNIA
26
                                                )       Case No.: CV 19-9181-JFW(AFMx)
27     JANE DOE,                                )
                                                )       Assigned for all purposes to the
28          Plaintiff,                          )       Honorable Mark C. Scarsi

        NOTICE OF SETTLEMENT AND UNOPPOSED MOTION FOR THE COURT TO RETAIN JURISDICTION UNTIL

                                  THE SETTLEMENT IS CONSUMMATED
     Case 2:19-cv-09181-MCS-AFM Document 36 Filed 11/05/20 Page 2 of 4 Page ID #:278



                                                    )
1             vs.                                   )      NOTICE OF SETTLEMENT AND
       PRINCESS CRUISE LINES, LTD.,                 )      UNOPPOSED MOTION FOR THE
2                                                   )      COURT TO RETAIN
       d/b/a Princes Cruises                        )      JURISDICTION UNTIL THE
3                                                   )      SETTLEMENT IS
             Defendant.                                    CONSUMMATED
4
                                                           Scheduling Conference:
5                                                          February 10, 2020
6

7
                    Plaintiff, JANE DOE, by and through her undersigned counsel, hereby
8
       notify the Court and all interested parties that the parties to this suit have entered into a
9
       full and complete settlement agreement on the above captioned case, and further say:
10

11           1. The terms and conditions of the settlement are confidential. The Parties agree
12
       that the settlement of this action is not consummated until all settlement funds are
13

14     tendered to Plaintiff’s counsel and all such funds clear normal banking channels. Under
15
       the terms of the confidential settlement agreement, all payments are not due until January
16

17
       31, 2021 and therefore the settlement agreement is executory.

18           2. For these reasons, the parties respectfully request that the Court retain
19
       jurisdiction for a minimum until March 31, 2021 to enforce the terms and conditions of
20

21     the confidential settlement agreement. Once the settlement has been consummated, the
22
       parties will promptly file a Stipulation for Dismissal with Prejudice.
23

24
             3. This motion is being filed pursuant to and in full compliance with Fed. R. Civ.

25     P. 41 (a), Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375 (1994), and
26
       Anago Franchising, Inc. v. Shaz, LLC, 677 F. 3d 1272 (11th Cir. 2012).
27

28



        NOTICE OF SETTLEMENT AND UNOPPOSED MOTION FOR THE COURT TO RETAIN JURISDICTION UNTIL

                                     THE SETTLEMENT IS CONSUMMATED
     Case 2:19-cv-09181-MCS-AFM Document 36 Filed 11/05/20 Page 3 of 4 Page ID #:279




1
             4. Before filing this Notice of Settlement and Motion for the Court to retain

2      jurisdiction until the Settlement is consummated, the parties conferred, and the Defendant
3
       does not oppose this request for relief.
4

5            WHEREFORE, the Plaintiff respectfully request this Court retain jurisdiction until
6
       March 31, 2021 and grant all other relief that the Court deems just and proper.
7

8

9      Dated: November 5, 2020                         HICKEY LAW FIRM, P.A.
10

11
                                                  By: s/ John H. Hickey______________________
                                                  JOHN H. HICKEY, ESQ.
12                                                Attorneys for Plaintiff, Jane Doe
13

14

15

16
                                    CERTIFICATE OF SERVICE

17
             I HEREBY CERTIFY that on November 5, 2020, I electronically filed the
18
       foregoing document, with the Clerk of the Court using CM/ECF. I also certify that the
19
       foregoing document is being served this day on all counsel of record or pro se parties
20
       identified on the attached Service List in the manner specified, either via transmission of
21

22
       Notices of Electronic Filing generated by CM/ECF or in some other authorized manner

23     for those counsel or parties who are not authorized to receive electronically Notices of
24     Filing.
25

26                                                     By: s/John H. Hickey
                                                          JOHN H. HICKEY (FBN 305081)
27

28



        NOTICE OF SETTLEMENT AND UNOPPOSED MOTION FOR THE COURT TO RETAIN JURISDICTION UNTIL

                                     THE SETTLEMENT IS CONSUMMATED
     Case 2:19-cv-09181-MCS-AFM Document 36 Filed 11/05/20 Page 4 of 4 Page ID #:280




1

2                                        SERVICE LIST
3

4
                         JANE DOE v. PRINCESS CRUISE LINES, LTD
                             CASE NO.: CV 19-9181-JFW(AFMx)
5

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        NOTICE OF SETTLEMENT AND UNOPPOSED MOTION FOR THE COURT TO RETAIN JURISDICTION UNTIL

                                  THE SETTLEMENT IS CONSUMMATED
